     Case 6:12-cr-00018-JRH Document 1196 Filed 11/18/15 Page 1 of 1




                UNITED STATES DISTRICT COURT
                SOIJTkthRN DISTRICT OF GEORGIA
                      STATE SBORO DIVISION



ANTONIO MARQUETTE MANGRAM,              )



                                        )



      Movant,                           )



V.                                      )     Case No. 0V615-022
                                        )              CR6 12-018
UNITED STATES OF AMERICA,               )



                                        )



      Respondent.                       )




                               ORDER
      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of t]1,C&Urt

      SO ORDERED this       \ 7_dayof - __   2_"___




                                  LISA GODBEY WOOD, CHIEF JUDGE
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
